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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION

IN RE: § CASE NO. 18-34658
§

HOUTEX BUILDERS, LLC, § Chapter I1
§

DEBTOR §
§ Jointly Administered
§

HOUTEX BUILDERS, LLC, 2203 §

LOOSCAN, LLC, AND §

415 SHADYWOOD, LLC, § Adversary No. 20-03237
§

Plaintiffs, §

§

Vv. § JURY TRIAL REQUESTED
§

HL BUILDERS, LLC f/k/a/ §

CD HOMES, LLC AND §

ANNA WILLIAMS, §
§

Defendants §

CD HOMES, LLC’S ANSWER TO AMENDED ADVERSARY COMPLAINT
TO THE HONORABLE JEFFREY NORMAN, U.S. BANKRUPTCY JUDGE:

Subject to its motion to withdraw the reference and to abstain, Defendant HL Builders,
LLC f/k/a CD Homes, LLC (“Defendant”), files this answer to the Adversary Complaint as
amended (“Complaint”) [Dkt. 18] filed by HouTex Builders, LLC, 2203 Looscan Lane, LLC, and
415 Shadywood, LLC (“Debtors” or “Plaintiffs”).

ANSWER

1. Defendant admits that this is an adversary proceeding as alleged in paragraph 1 of

the Complaint. Defendant denies the remaining allegations contained in paragraph | of the

Complaint.
 

 

 

 

 

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2. Defendant admits that these bankruptcy cases are jointly administered as alleged in

paragraph 2 of the Complaint.

3. Defendant denies the allegations contained in paragraph 3 of the Complaint.
4, Defendant denies the allegations contained in paragraph 4 of the Complaint.
5. Regarding paragraph 5 of the Complaint with respect to Federal Rule of Bankruptcy

Procedure 7008, Defendant does not consent to the entry of a final order or judgment by the
Bankruptcy Court in this matter.

6. Defendant denies the allegations contained in paragraph 6 of the Complaint. For
further answer, Defendant does not consent to the entry of a final order or judgment by the

Bankruptcy Court in this matter,

7. Defendant denies the allegations contained in paragraph 7 of the Complaint.
8. Defendant admits the allegations contained in paragraph 8 of the Complaint.
9. Defendant admits the allegations contained in paragraph 9 of the Complaint.
10. Defendant admits the allegations contained in paragraph 10 of the Complaint.

11. Defendant admits the allegations contained in paragraph 11 of the Complaint.

12. Defendant admits the allegations contained in paragraph 12 of the Complaint.

13. Defendant denies the allegations contained in the first sentence of paragraph 13 of
the Complaint. For further answer, Defendant responds that each individual debtor was in the
business of investing, contracting for services and ultimately dividing profits with Defendant.
Defendant is without sufficient information to admit or deny the remaining allegations contained

in paragraph 13 of the Complaint; therefore, for pleading purposes, they are denied.
 

 

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14. Defendant admits that it is a home construction company, that Anna Williams is
the owner of CD Homes, LLC and that William’s husband, Robert Parker, is a consultant for CD
Homes as alleged in paragraph 14 of the Complaint. Defendant denies the remaining allegations
contained in paragraph 14 of the Complaint.

15. Defendant denies the allegations contained in paragraph 15 of the Complaint as
worded. For further answer, Defendant responds that Charles Foster through numerous entities
began doing business with CD Homes and that Robert Parker, a consultant for CD Homes, was
the representative of CD Homes with whom Foster dealt.

16. Defendant admits the allegations contained in paragraph 16 of the Complaint.

17. Defendant admits that the allegations contained in paragraph 17 of the Complaint
reflect the original intention and agreement of the parties with respect to the construction and
financing of the projects. However, by action and agreement of the parties, the precepts of these
two agreements were modified. Asa result of the parties’ agreed modifications, Defendant denies
the allegations contained in paragraph 17 of the Complaint.

18. Defendant admits that the allegations contained in paragraph 18 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial acquisition and
equity for the projects. However, by action and agreement of the parties, the precepts of these
two agreements were modified. Asa result of the parties’ agreed modifications, Defendant denies
the allegations contained in paragraph 18 of the Complaint.

19, Defendant admits that the allegations contained in paragraph 19 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial obligation of

CD Homes to provide any funds in excess of the construction and equity loan for each project.
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However, by action and agreement of the parties, the precepts of these two agreements were
modified. As a result of the parties’ agreed modifications, Defendant denies the allegations
contained in paragraph 19 of the Complaint.

20. Defendant admits that the allegations contained in paragraph 20 of the Complaint
reflect the original intention and agreement of the parties with respect to the distribution of net
proceeds at closing after each Project is sold. However, by action and agreement of the parties,
the precepts of these two agreements were modified. As a result of the parties’ agreed
modifications, Defendant denies the allegations contained in paragraph 20 of the Complaint.

21. Defendant admits that the allegations contained in paragraph 21 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial obligation of
CD Homes to provide any funds in excess of the construction and equity loan for each Project and
a $50,000 payment to the respective Debtor upon the sale of each Project. However, by action
and agreement of the parties, the precepts of these two agreements were modified. Asa result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 21 of
the Complaint.

22. Defendant denies the allegations contained in paragraph 22 of the Complaint.

23, Defendant admits the allegations contained in paragraph 23 of the Complaint. For
further answer, Defendant responds that the non-dischargeable default judgment entered against
Robert F. Parker resulted from Parker’s inability to retain counsel to appear and defend against the
allegations asserted by Finger Interests Number One, Ltd.

24. Defendant denies the allegations contained in paragraph 24 of the Complaint.

25. Defendant admits the allegations contained in paragraph 25 of the Complaint.

26. Defendant admits the allegations contained in the first and third sentences of
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paragraph 26 of the Complaint. Defendant denies the remaining allegations contained in
paragraph 26 of the Complaint as worded.

27. Defendant admits the allegations contained in the first and fourth sentences of
paragraph 27 of the Complaint. Defendant denies the remaining allegations contained in
paragraph 27 of the Complaint as worded.

28. Defendant admits the allegation contained in paragraph 28 of the Complaint that
Debtors have filed an omnibus objection to the three claims. Defendant denies the remaining
allegations contained in paragraph 28 as worded.

29. Defendant admits the allegations contained the first, second, seventh, and tenth
sentences of paragraph 29 of the Complaint. Defendant denies the remaining allegations
contained in paragraph 29 of the Complaint as worded. For further answer, Defendant responds
that during the trial held with respect to the involuntary chapter 11 proceeding under Case Number
19-32825, In re HL Builders, LLC fvk/a CD Homes, LLC, Alleged Debtor, CD Homes elicited the
testimony of Robert Parker and offered documentation specifically supporting CD Homes’ claims.

30. Defendant admits the allegations contained paragraph 30 of the Complaint that CD
Homes filed unsecured claims including Claim No. 4-1, 5-1, 6-1 and 7-1 in the Shadywood case
and that Debtors filed an omnibus objection. Defendant denies the remaining allegations
contained in paragraph 30 as worded.

31. Defendant admits the allegations contained paragraph 31 of the Complaint that CD
Homes filed unsecured claims including Claim No. 3-1 and 4-1 in the Looscan case and that
Debtors filed an omnibus objection. Defendant denies the remaining allegations contained in
paragraph 31 as worded.

32. Defendant denies the allegations contained in paragraph 32 of the Complaint as
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worded. For further answer, Defendant admits that Robert Parker, as Foster’s and Plaintiffs’
agent, and following Foster’s instructions, arranged loans for Foster and Plaintiffs.

33. Defendant denies the allegations contained in the first sentence of paragraph 33 of
the Complaint as worded. For further answer, Defendant responds that in the ordinary course of
business, CD Homes routinely deposited proceeds received from the construction, equity, and
third-party loans into CD Homes’ operating account. Defendant denies the allegations contained
in the second sentence of paragraph 33 of the Complaint. Defendant denies the allegations
contained in the third sentence of paragraph 33 of the Complaint as worded. Defendant denies
the allegations contained in the fourth sentence of paragraph 33 of the Complaint. Defendant
further answers that funds in the CD Homes’ operating account were used to pay Plaintiffs’ debts
and legitimate operating expenses. Defendant denies the remaining allegations contained in
paragraph 33 of the Complaint.

34. Defendant denies the allegations contained in paragraph 34 of the Complaint as
worded. For further answer, Defendant responds that Robert Parker, as Foster’s and Plaintiffs’
agent, and following Foster’s instructions, arranged loans for Foster and Plaintiffs.

35. Defendant denies the allegations contained in paragraph 35 of the Complaint as
worded. For further answer, Defendant responds that CD Homes repaid Williams for payments
made by Williams for the benefit of Plaintiffs and CD Homes.

36. Defendant denies the allegations contained in paragraph 36 of the Complaint as
worded. For further answer, Defendant responds that it utilized a suspense account as part of its
bookkeeping methodology, although the suspense account did not exist as an actual account with
any financial institution.

37. Defendant is without sufficient information to either admit or deny the allegations
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contained in paragraph 37 of the Complaint. Therefore, for pleading purposes, they are denied.
For further answer, Defendant admits that CD Homes’ Community Bank register reflects various
deposits and transfers between July 1, 2014 and February 12, 2018.

38. _- Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 38 of the Complaint. Therefore, for pleading purposes, they are denied.

39. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 39 of the Complaint. Therefore, for pleading purposes, they are denied.
For further answer, Defendant responds that CD Homes repaid Williams for payments made by
Williams for the benefit of Plaintiffs and CD Homes. Defendant further answers that funds in the
CD Homes’ operating account were used to pay Plaintiffs’ debts and legitimate operating
expenses.

40. Defendant denies the allegations contained in paragraph 40 of the Complaint as
worded. For further answer, Defendant responds that it utilized a suspense account as part of its
bookkeeping methodology, although the suspense account did not exist as an actual account with
any financial institution.

41. Paragraph 41 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 41, Defendant denies same.

42. Defendant admits the allegation contained in the first sentence of paragraph 42 that
Charles Foster wrote some checks to cover the costs of the Projects directly and denies the
remainder of the allegations contained in that sentence as worded. Defendant admits the
allegation contained in the second sentence of paragraph 42 that CD Homes paid other Project
costs directly and denies the remainder of the allegations contained in that sentence as worded.

Defendant is without sufficient information to either admit or deny the allegations contained in the
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third sentence of paragraph 42; therefore, for pleading purposes, they are denied.

43. Defendant denies the allegation contained in paragraph 43 that CD Homes refused
to honor its obligation under the Investor Agreements. Defendant is without sufficient
information to either admit or deny the remaining allegations contained in paragraph 43 of the
Complaint. Therefore, for pleading purposes, those allegations are denied.

44. Defendant admits that the allegations contained in paragraph 44 of the Complaint
reflect the original intention and agreement of the parties with respect to how the net proceeds of
the sale of the Projects were to be distributed at closing. However, by action and agreement of
the parties, the precepts of these two agreements were modified. Asa result of the parties’ agreed
modifications, Defendant denies the allegations contained in paragraph 44 of the Complaint.

4S. Defendant admits the allegations contained in paragraph 45 of the Complaint that
the Looscan Project closed on or around January 4, 2019 and that the amount funded at closing
did not produce enough Net Proceeds to pay the amounts due under paragraph 8 of the Investor
Agreement as originally intended and agreed upon by the parties. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. As a result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 45 of
the Complaint. For further answer, Defendant responds that neither Foster nor Looscan made any
written demand for payment by CD Homes prior to the instant Complaint.

A6, Defendant admits the allegations contained in paragraph 46 of the Complaint that
the Shadywood Project closed on or around January 14, 2019 and that the amount funded at closing
did not produce enough Net Proceeds to pay the amounts due under paragraph 8 of the Investor
Agreement as originally intended and agreed upon by the parties. However, by action and

agreement of the parties, the precepts of the Investor Agreement were modified. As a result of
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the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 46 of
the Complaint. For further answer, Defendant responds that neither Foster nor Shadywood made
any written demand for payment by CD Homes prior to the instant Complaint.

47. Defendant admits the allegations contained in paragraph 47 of the Complaint that
the Thornblade Project closed on or around December 11, 2018 and that the amount funded at
closing did not produce enough Net Proceeds to pay the amounts due under paragraph 8 of the
Investor Agreement as originally intended and agreed upon by the parties. However, by action
and agreement of the parties, the precepts of the Investor Agreement were modified. As a result
of the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 47
of the Complaint. For further answer, Defendant responds that neither Foster nor HouTex made
any written demand for payment by CD Homes prior to the instant Complaint.

48. Defendant admits the allegations contained in paragraph 48 of the Complaint that
the Lynbrook Project closed on or around December 5, 2019 and that the amount funded at closing
did not produce enough Net Proceeds to pay the amounts due under paragraph 8 of the Investor
Agreement as originally intended and agreed upon by the parties. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. As a result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 48 of
the Complaint. For further answer, Defendant responds that neither Foster nor HouTex made any
written demand for payment by CD Homes prior to the instant Complaint.

49, Paragraph 49 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 49, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 49 of the Complaint.

50. Defendant denies the allegations contained in paragraph 50 of the Complaint as
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worded. For further answer, Defendant responds that the Investor Agreements for Lynbrook and
Thornblade, as modified by the action and agreement of the parties, are valid and binding contracts
between Plaintiff HouTex and Defendant CD Homes.

51. Defendant denies the allegations contained in paragraph 51 of the Complaint.

52. Defendant admits that the allegations contained in paragraph 52 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial obligation of
CD Homes to bring to the closing of the Thornblade Project and the Lynbrook Project all funds
sufficient to pay the amounts required under paragraph 8 of each of the Investor Agreements
including amounts required under paragraph 6 of the Investor Agreements to fund the construction
costs in excess over the construction loan and equity loan. However, by action and agreement of
the parties, the precepts of these two agreements were modified. Asa result of the parties’ agreed
modifications, Defendant denies the allegations contained in paragraph 52 of the Complaint.

53. Defendant admits the allegations contained in paragraph 53 of the Complaint that
when the Thornblade Project closed, there were insufficient Net Proceeds to pay the amounts as
required under paragraph 8 of the Investor Agreement as originally intended and agreed upon by
the parties. However, by action and agreement of the parties, the precepts of the Investor
Agreement were modified. As a result of the parties’ agreed modifications, Defendant denies the
allegations contained in paragraph 53 of the Complaint. For further answer, Defendant responds
that neither Foster nor HouTex made any written demand for payment by CD Homes prior to the
instant Complaint.

54. Defendant is without sufficient information to admit or deny the allegations
contained in paragraph 54 of the Complaint; therefore, for pleading purposes, they are denied.

55. Defendant admits the allegations contained in paragraph 55 of the Complaint that
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when the Thornblade Project closed, the $50,000 guaranteed under the Investor Agreement as
originally intended and agreed upon by the parties was not paid. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. As a result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 55 of
the Complaint. For further answer, Defendant responds that neither Foster nor HouTex made any
written demand for payment by CD Homes prior to the instant Complaint.

56. Defendant denies the allegations contained in paragraph 56 of the Complaint.

57, Defendant admits the allegations contained in paragraph 57 of the Complaint that
when the Lynbrook Project closed, there were insufficient Net Proceeds to pay the amounts
required under paragraph 8 of the Investor Agreement as originally intended and agreed upon by
the parties. However, by action and agreement of the parties, the precepts of the Investor
Agreement were modified. As a result of the parties’ agreed modifications, Defendant denies the
allegations contained in paragraph 57 of the Complaint. For further answer, Defendant responds
that neither Foster nor HouTex made any written demand for payment by CD Homes prior to the
instant Complaint.

58. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 58 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

59. Defendant admits the allegations contained in paragraph 59 of the Complaint that
when the Lynbrook Project closed, the $50,000 guaranteed under the Investor Agreement as
originally intended and agreed upon by the parties was not paid. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. As a result of

the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 59 of
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the Complaint. For further answer, Defendant responds that neither Foster nor HouTex made any
written demand for payment by CD Homes prior to the instant Complaint.

60. Defendant denies the allegation contained in paragraph 60 of the Complaint.

61. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 61 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

62. Defendant denies the allegations contained in paragraph 62 of the Complaint.

63. Defendant denies the allegations contained in paragraph 63 of the Complaint.

64. Paragraph 64 of the Complaint does not contain any allegations of fact; therefore,
no response is required. To the extent that any factual allegations are contained in paragraph 64
of the Complaint, Defendant denies same.

65. Paragraph 65 of the Complaint does not contain any allegations of fact; therefore,
no response is required. To the extent that any factual allegations are contained in paragraph 65
of the Complaint, Defendant adopts its prior responses to the respective paragraphs referenced in
paragraph 65 of the Complaint.

66. Defendant denies the allegation contained in paragraph 66 of the Complaint as
worded. For further answer, Defendant responds that the Looscan Investor Agreement, as
modified by the action and agreement of the parties, is a valid and binding contract between
Plaintiff Looscan and Defendant CD Homes.

67. Defendant denies the allegations contained in paragraph 67 of the Complaint.

68. Defendant admits that the allegations contained in paragraph 68 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial obligation of

CD Homes under the Looscan Investor Agreement to bring to closing all funds sufficient to pay
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the amounts required under paragraph 8 of the Looscan Investor Agreement including amounts
required under paragraph 6 of the Looscan Investor Agreement to fund the construction costs in
excess over the construction loan and equity loan. However, by action and agreement of the
parties, the precepts of this agreement were modified. As a result of the parties’ agreed
modifications, Defendant denies the allegations contained in paragraph 68 of the Complaint. For
further answer, Defendant responds that neither Foster nor Looscan made any written demand for
payment by CD Homes prior to the instant Complaint.

69. Defendant admits the allegations contained in paragraph 69 of the Complaint that
when the Looscan Project closed, there were insufficient Net Proceeds to pay the amounts required
under paragraph 8 of the Investor Agreement as originally intended and agreed upon by the parties.
However, by action and agreement of the parties, the precepts of the Investor Agreement were
modified. As a result of the parties’ agreed modifications, Defendant denies the allegations
contained in paragraph 69 of the Complaint. For further answer, Defendant responds that neither
Foster nor Looscan made any written demand for payment by CD Homes prior to the instant
Complaint.

70. Defendant is without sufficient information to admit or deny the allegations
contained in paragraph 70 of the Complaint; therefore, for pleading purposes, they are denied.

71. Defendant admits the allegations contained in paragraph 71 of the Complaint that
when the Looscan Project closed, the $50,000 guaranteed under the Investor Agreement as
originally intended and agreed upon by the parties was not paid. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. As a result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 71 of

the Complaint. For further answer, Defendant responds that neither Foster nor Looscan made any
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written demand for payment by CD Homes prior to the instant Complaint.

72. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 72 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

73. Defendant denies the allegations contained in paragraph 73 of the Complaint.

74. Defendant denies the allegations contained in paragraph 74 of the Complaint.

75. Paragraph 75 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 75, Defendant denies same.

76. Paragraph 76 does not contain any factual allegations, therefore, no response is
required. To the extent factual allegations are contained in paragraph 76, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 76 of the Complaint.

77. Defendant denies the allegations contained in paragraph 77 of the Complaint as
worded. For further answer, Defendant responds that the Shadywood Investor Agreement, as
modified by the action and agreement of the parties, is a valid and binding contract between
Plaintiff Shadywood and Defendant CD Homes.

78. Defendant denies the allegations contained in paragraph 78 of the Complaint.

79. Defendant admits that the allegations contained in paragraph 79 of the Complaint
reflect the original intention and agreement of the parties with respect to the initial obligation of
CD Homes under the Shadywood Investor Agreement to bring to closing all funds sufficient to
pay the amounts required under paragraph 8 of the Shadywood Investor Agreement including
amounts required under paragraph 6 of the Shadywood Investor Agreement to fund the
construction costs in excess over the construction loan and equity loan. However, by action and

agreement of the parties, the precepts of this agreement were modified. Asa result of the parties’
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agreed modifications, Defendant denies the allegations contained in paragraph 79 of the
Complaint. For further answer, Defendant responds that neither Foster nor Shadywood made any
written demand for payment by CD Homes prior to the instant Complaint.

80. Defendant admits the allegations contained in paragraph 80 of the Complaint that
when the Shadywood Project closed, there were insufficient Net Proceeds to pay the amounts due
under paragraph 8 of the Investor Agreement as originally intended and agreed upon by the parties.
However, by action and agreement of the parties, the precepts of the Investor Agreement were
modified. As a result of the parties’ agreed modifications, Defendant denies the allegations
contained in paragraph 80 of the Complaint. For further answer, Defendant responds that neither
Foster nor Shadywood made any written demand for payment by CD Homes prior to the instant
Complaint.

81. Defendant is without sufficient information to admit or deny the allegations
contained in paragraph 81 of the Complaint; therefore, for pleading purposes, they are denied.

82. Defendant admits the allegations contained in paragraph 82 of the Complaint that
when the Shadywood Project closed, the $50,000 guaranteed under the Investor Agreement as
originally intended and agreed upon by the parties was not paid. However, by action and
agreement of the parties, the precepts of the Investor Agreement were modified. Asa result of
the parties’ agreed modifications, Defendant denies the allegations contained in paragraph 82 of
the Complaint. For further answer, Defendant responds that neither Foster nor Shadywood made
any written demand for payment by CD Homes prior to the instant Complaint.

83. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 83 of the Complaint. Therefore, for pleading purposes, those allegations

are denied.
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84. Defendant denies the allegations contained in paragraph 84 of the Complaint.

85. Defendant denies the allegations contained in paragraph 85 of the Complaint.

86. Paragraph 86 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 86, Defendant denies same.

87. Paragraph 87 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 87, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 87 of the Complaint.

88. Paragraph 88 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 88, Defendant denies same.

89. Defendant denies the allegations contained in paragraph 89 of the Complaint as
worded. For further answer, Defendant admits that Robert Parker, as Foster’s and Plaintiffs’
agent, and following Foster’s instructions, arranged loans for Foster and Plaintiffs. Some of the
proceeds of the loans were used to pay Plaintiffs’ and Foster’s obligation to Anna Williams, among
other creditors.

90. Defendant denies the allegations contained in paragraph 90 of the Complaint.

91. Defendant denies the allegations contained in paragraph 91 of the Complaint.

92. Paragraph 92 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 92, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 92 of the Complaint.

93. Paragraph 93 does not contain any factual allegations, therefore, no response is
required. To the extent factual allegations are contained in paragraph 93, Defendant denies same.

94. Defendant denies the allegations contained in paragraph 94 of the Complaint.

95. Defendant denies the allegations contained in paragraph 95 of the Complaint.
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96. Defendant denies the allegations contained in paragraph 96 of the Complaint.

97. Paragraph 97 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 97, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 97 of the Complaint.

98. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 98 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

99, Paragraph 99 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 99, Defendant denies same.

100. Defendant denies the allegations contained in paragraph 100 of the Complaint as
worded. For further answer, Defendant admits that Robert Parker, as Foster’s and Plaintiffs’
agent, and following Foster’s instructions, arranged loans for Foster and Plaintiffs. Some of the
proceeds of the loans were used to pay Plaintiffs’ and Foster’s obligation to Anna Williams, among
other creditors.

101. Defendant denies the allegations contained in paragraph 101 of the Complaint.

102. Defendant denies the allegations contained in paragraph 102 of the Complaint.

103. Paragraph 103 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 103, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 103 of the Complaint.

104. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 104 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

105. Paragraph 105 does not contain any factual allegations; therefore, no response is
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required. To the extent factual allegations are contained in paragraph 105, Defendant denies
same.

106. Defendant denies the allegations contained in paragraph 106 of the Complaint.

107. Defendant denies the allegations contained in paragraph 107 of the Complaint.

108. Defendant denies the allegations contained in paragraph 108 of the Complaint.

109. Paragraph 109 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 109, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 109 of the Complaint.

110. Paragraph 110 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 110, Defendant denies
same.

111. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 111 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

112. Defendant denies the allegations contained in paragraph 112 of the Complaint.

113. Paragraph 113 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 113, Defendant adopts its
prior responses to the respective paragraphs referenced in paragraph 113 of the Complaint.

114. Paragraph 114 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 114, Defendant denies
same.

115. Paragraph 115 does not contain any factual allegations; therefore, no response is

required. To the extent factual allegations are contained in paragraph 115, Defendant denies
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same.

116. Paragraph 116 does not contain any factual allegations; therefore, no response is
required. To the extent factual allegations are contained in paragraph 116, Defendant denies
same.

117. Defendant is without sufficient information to either admit or deny the allegations
contained in paragraph 117 of the Complaint. Therefore, for pleading purposes, those allegations
are denied.

118. Defendant admits the allegations contained in paragraph 118 of the Complaint.

119. Defendant denies the allegations contained in paragraph 119 of the Complaint.

 

120. Defendant denies the allegations contained in paragraph 120 of the Complaint.

121. Defendant denies the allegations contained in paragraph 121 of the Complaint.

122. Defendant denies the allegations contained in paragraph 122 of the Complaint.

123. Defendant denies the allegations contained in paragraph 123 of the Complaint.

124. Defendant denies the allegations contained in paragraph 124 of the Complaint.

AFFIRMATIVE DEFENSES

125. The Plaintiffs’ claims against Defendant fail because Plaintiffs waived the claims.

126. The Plaintiffs’ claims against Defendant fail because Plaintiffs ratified CD Homes’
alleged conduct.

127. The Plaintiffs’ claims against Defendant are barred by estoppel.

128. The Plaintiffs’ claims against Defendant fail because the parties modified the
agreements upon which Plaintiffs base their claims.

129. Defendant further contends that any recovery by Plaintiffs against CD Homes must

be offset by the amount of damages arising from construction delay caused by Plaintiffs.
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130. The Plaintiffs’ claims are barred by the applicable statute of limitations and repose,
and the statutory provisions extinguishing the causes of action.

131. The Plaintiffs’ claims regarding Defendant’s member distributions fail because the
challenged transfers were made in good faith, in the ordinary course of business, and for reasonably
equivalent value.

ATTORNEY’S FEES

132. Defendant seeks its attorney’s fees as are equitable and just. TEX. Bus.& CoM.
Cope SEC. 24.013.

Wherefore, Defendant prays that Plaintiffs take nothing on their claims and that Defendant
recover its costs of court and such other and further relief to which it may be entitled.

Respectfully submitted,

FUQUA & ASSOCIATES, PC

BY: /s/ Richard L. Fuqua
Richard L. Fuqua
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Answer to Amended
Complaint was forwarded by ECF and/or regular United States mail, postage prepaid, on
September 2", 2020 to the parties listed below.

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